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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
THIRD JUDICIAL DISTRICT AT KODIAK

MICHAEL JOHN FRICCERO and
GINA PERU FRICCERO,

COMPLAINT
Plaintiffs,

VS.

ERIC WILLIAM FRICCERO, and
N REM $142,100
Defendants.

Case No. 3KO-14- Cl

 

 

COMES NOW, Plaintiff, MIKE and GINA FRICCERO, by and though counsel of
record, Law Office of Jill Wittenbrader, LLC and alleges against Defendant, ERIC
FRICCERO, as follows:

1. Plaintiffs Mike and Gina Friccero are residents of Kodiak, Alaska.

2. Eric Friccero is a resident of Alaska.

3. The events herein alleged occurred in Kodiak, Alaska.

4. The Alaska Superior Court at Kodiak, Alaska has jurisdiction over the claims

as stated herein, and over the parties.

5. This complaint alleges injuries and damages in amounts to be established,

but that will exceed $50,000.00.
Plaintiff's Preliminary Statement of Facts

6. On or about May 8, 2008 the Plaintiffs and Defendant entered into an

agreement to transfer a Bristol Bay Drift Permit into the defendant's name.

The agreement provided that the permit was a family asset, held for the

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benefit of all family members, and that if the permit were to be sold Eric
Friccero would pay fair market value for the permit. Exhibit 1.

7. After the signing of the May 8, 2008 agreement Eric Friccero continued to
fish Bristol Bay with his family.

8. During the 2013 fishing season Eric began to display sign of mental
instability and later that year he began to disassociate from his family.

9. Without telling his family, Eric listed the permit for sale; it was sold through
a broker in the State of Washington in the spring of 2014.

10. After the permit sold Eric informed his family that he had sold the permit and
stated his intention to keep the monies from the sale so he could buy a
house and begin a marijuana growing operation in the State of California.
Eric told his parents that was doing so because they were "shitty parents”.

11. The Plaintiffs brought an action in the State of Washington. The
Washington State Superior Court heard the matter and ordered that the
funds from the sale of the permit be held in the Court Registry. The
Washington court then dismissed the action without prejudice, noting that
the law of the State of Alaska governs the matter. The Washington court is
holding the funds for thirty (30) days so that the parties can ask the State of
Alaska to take possession of the proceeds of the sale of the permit.

12. If the State of Alaska does not take possession of the proceeds the -

proceeds will be given to Eric Friccero after the thirty (30) day period.

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FIRST CLAIM FOR RELIEF:

 

Constructive Trust

 

13. Defendant is plaintiffs' son, and at all times prior to and at the time of the
permit transfer, the most confidential relations existed between the plaintiffs
and defendant; plaintiffs placed great trust and confidence in their son and
relied heavily upon the close, trusting and confidential relationship with their
son. At all times plaintiffs believed that their son would deal fairly with them
and other family members and that their son would never abuse the close
trusting and confidential relationship between himself and other family
members.

14. This close, trusting and confidential relationship induced the permit transfer
to the defendant. The parties’ intent with respect to the permit transfer is
outlined in the May 8, 2008 agreement signed by defendant and Gina
Friccero.

15. There was never any true consideration paid by Eric Friccero; the only
consideration paid by him was the trust and confidence that plaintiffs
reposed in him.

16. Plaintiffs would not have transferred the permit into his name had they
believed he would breach this trust and confidence and defraud the family
unit by breaching this trust and confidence.

17. The facts alleged above created a constructive trust

 

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SECOND CLAIM FOR RELIEF:

Breach of Contract

 

18. Plaintiff realleges Paragraphs 1-17 of the complaint as stated supra and
further alleges as follows.

19.At all times pertinent herein Plaintiffs performed their stipulations, conditions,
agreements and duties under the May 8, 2008 written agreement.

20. Defendant has failed to and refuses to perform his contractual obligations
under the May 8, 2008 written agreement by refusing to pay plaintiffs) the
fair market value of the permit as required by paragraph (e) of the contract.

THIRD CLAIM FOR RELIEF:
Promissory and Equitable Estoppel

21. Plaintiff realleges Paragraphs 1-20 of the complaint as stated supra and
further alleges as follows.

22. Defendant's actions led Plaintiff to reasonably and justifiably rely on his
promises.

23. Defendant breached the implied covenant to act in good faith and fair
dealing by failing to perform in the manner promised.

24. Defendant will be unjustly enriched if he is not required to provide payment
to Plaintiffs.

FOURTH CLAIM FOR RELIEF:
Quantum Meruit
25. Plaintiff realleges Paragraphs 1-24 of the complaint as stated Supra and

further alleges as follows.

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26. Plaintiffs provided valuable goods, assets and services which enabled the
defendant to fish the Bristol Bay Drift Net Permit in question since 2008,
including, but not limited to, providing a vessel and gear for the fishing of
said permit.

27.Defendant has not compensated the plaintiffs for these valuable goods,
assets and services.

28. The reasonable value of these goods, assets and services exceeds
$142,100.

FIFTH CLAIM FOR RELIEF:
Fraud/Misrepresentation

29. Plaintiff realleges Paragraphs 1-28 of the complaint as stated supra and
further alleges as follows.

30. Defendants actions surrounding the sale of the permit and intentions for the
proceeds there from constitute fraud.

WHEREFORE, the plaintiff prays for relief as follows:

1. Judgment declaring that the defendant holds the permit in trust for the

plaintiffs and the family unit;

2. Judgment against Eric Friccero in favor of Gina Friccero in the amount of

at least one hundred forty five thousand dollars ($145,000), the value of

the permit;
im Prejudgment interest, and costs and attorney's fees; and
3. For such further relief as the Court may deem just, proper, and equitable.

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Dated at Kodiak, Alaska, this sx day of June, 2014.

Law Office of Jill Wittenbrader, LLC

 

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May 7, 2008

The following is to document the agreement on the transfer of a Bristol Bay
Permit by Mike and Gina Friccero into the name of their son, Eric Friccero.

I, Eric Friccero do hereby acknowledge that by signing this document agree

to the following:

a. That my parents will put one Bristol Bay drift permit into my name.
b. That this does not mean that this permit belongs to me, but does, in
fact belong to my parents.

c. That my parents are putting the permit in my name so that I may
continue to fish Bristol Bay in the summers on the F/V Rainy Dawn.
d. I agree to sign any and all documents that have to do with the
Bristol Bay season, as directed by my Parents. |
e. That upon the need for my parents to sell the permit. I will agree to
either buy it at fair market value, or to sign all documents allowing
them to transfer the permit.

f. I agree to stay each and every season for as long as my parents feel
that it is necessary to complete said salmon season.

g. Upon the event of my parent’s death, I agree to provide my brother

Destin Friccero with a job for as long as he wants it, at a 20% crew

share.

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h. Upon the event of my parents’ death, I agree to see to it that the rest
of the permits and boats that I don’t keep are given to my sisters,
either to fish or to sell and divide the monies between them. Should
only one of my two sisters decide to fish, she must agree to buy out at
fair market value to the other sister. If my boat is worth more than the

other, I agree to compensate my sisters for the difference,

I enter into and agree to this agreement on this date.

Eric Friccero

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